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 7 United States of America

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00083 GEB
12
                                  Plaintiff,             STIPULATION AND [PROPOSED] ORDER
13                                                       REGARDING MENTAL COMPETENCY
                            v.                           EVALUATION AND EXCLUDABLE TIME
14                                                       PERIODS UNDER SPEEDY TRIAL ACT
     ALEKSANDR MASLOV,
15
                                  Defendant.
16

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant
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     Aleksandr Maslov, by and through defendant’s counsel of record, hereby stipulate as follows:
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            1.      On February 13, 2017, the defendant’s attorney filed under seal a report by Barbara E.
21
     McDermott, PhD, of the University of California, Davis Department of Psychiatry. ECF Nos. 168-69.
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     Based on the report, both parties agree that there is a doubt as to the defendant’s competency and that a
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     hearing to determine the mental competency of the defendant, pursuant to 18 U.S.C. § 4241(a), is
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     appropriate.
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            2.      The government requests, and the defendant does not object, that the defendant be further
26
     evaluated by a Forensic Psychologist at a Federal Bureau of Prisons (“BOP”) Forensic Study Site prior
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     to the competency hearing. Pursuant to 18 U.S.C. § 4247(b), this Court may order an examination by
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     “more than one such examiner.” In order to effectuate that request, the Court may commit the defendant
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 1 to the custody of the Attorney General for placement in a suitable facility to be examined for a

 2 reasonable period not to exceed 30 days. 18 U.S.C. § 4247(b). The director of the examining facility

 3 may request a reasonable extension, not to exceed 15 days. 18 U.S.C. § 4247(b).

 4          3.     Based on the record to date, there is reasonable cause to believe that the defendant may

 5 presently be suffering from a mental disease or defect rendering him mentally incompetent to the extent

 6 that he is (1) unable to understand the nature and consequences of the proceedings against him, or (2) to

 7 assist properly in his defense.

 8          4.     There is a compelling government interest in (1) obtaining a thorough and complete

 9 examination to protect the due process rights of the defendant and because the government bears the

10 burden of proving competency; (2) ensuring that the defendant is available for trial; (3) providing a

11 speedy trial; (4) preventing unnecessary delay; and (5) ensuring defendant’s appearance at psychiatric

12 examinations.

13          5.     BOP regularly employs highly competent Forensic Psychologists who perform an

14 extremely comprehensive competency evaluation.

15          6.     The nearest BOP Forensic Study Sites capable of conducting the necessary evaluation are

16 in Los Angeles, California, and Seattle, Washington.

17          7.     All Federal Bureau of Prisons (“BOP”) Forensic Study Sites that conduct mental

18 competency evaluations require the defendant to be in custody during the evaluation period.

19          8.     The defendant requests that the Court recommend that he be placed in the Metropolitan

20 Detention Center (MDC) facility located in Los Angeles, California. The government does not oppose

21 such recommendation.

22          9.     The parties agree that the status conference regarding the status of the mental competency

23 evaluation currently scheduled for February 24, 2017, be vacated, and reset for March 21, 2017.

24                 a)      Time should be ordered excluded pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv)

25          [Local Code T4] and B(ii) [Local Code T2] through the March 21, 2017, status date on the basis

26          of the Court’s finding that (1) the ends of justice served by taking such action outweighed the

27          best interest of the public and the defendant in a speedy trial, owing to the ongoing defense

28          preparation for trial and the voluminous discovery in this matter, and (2) in the alternative, that

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 1         this case was so unusual and complex, due to the nature of the prosecution, that it was

 2         unreasonable to expect adequate preparation for the trial itself within the time limits established

 3         by § 3161.

 4                 b)     Time should also be ordered excluded under 18 U.S.C. § 3161(h)(1)(A)

 5         (providing for exclusion of time within which trial must commence for “delay resulting from any

 6         proceeding, including any examinations, to determine the mental competency or physical

 7         capacity of the defendant”), through the date of the Court’s ultimate competency hearing for

 8         defendant Maslov. See United States v. Miranda, 986 F.2d 1283, 1294–85 (9th Cir. 1993)

 9         (holding that § 4241(a) time limits for competency evaluation do not limit excludable time for

10         competency examinations under § 3161(h)(1)(A), and upholding exclusion of 106 days in which

11         defendant’s mental competency evaluation report was under preparation); accord United States

12         v. Daychild, 357 F.3d 1082, 1094 (9th Cir. 2004).

13                 c)     Nothing in this stipulation and order shall preclude a finding that other provisions

14         of the Speedy Trial Act dictate that additional time periods are excludable from the period within

15         which a trial must commence.

16

17         IT IS SO STIPULATED.

18
     Dated: February 21, 2017                               PHILLIP A. TALBERT
19                                                          United States Attorney
20
                                                            /s/ MICHAEL D. ANDERSON
21                                                          MICHAEL D. ANDERSON
                                                            MATTHEW M. YELOVICH
22                                                          Assistant United States Attorneys
23
     Dated: February 21, 2017                               /s/ ROBERT WILSON
24                                                          ROBERT WILSON
25                                                          Counsel for Defendant
                                                            ALEKSANDR MASLOV
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 1                                                   ORDER

 2          BASED ON THE STIPULATION OF THE PARTIES, THE COURT HEREBY ORDERS AS

 3 FOLLOWS:

 4          1.      The defendant shall submit to a mental competency evaluation to assess his competency

 5 to stand trial in this case.

 6          2.      The mental competency evaluation shall be conducted by the Federal Bureau of Prisons

 7 (“BOP”).

 8          3.      The BOP shall, as soon as possible, designate a facility for the defendant’s mental

 9 competency evaluation.

10          4.      The defendant shall surrender himself to the Forensic Study Site designated by the BOP

11 within 14 days of receiving notice of the BOP’s designation.

12          5.      The defendant shall be immediately released from the designated BOP facility upon

13 completion of his mental competency evaluation.

14          6.      The BOP shall, as soon as possible, furnish the Court with a report evaluating the

15 defendant’s mental competency and ability to stand trial in this case.

16          7.      The status conference regarding the mental competency evaluation currently scheduled

17 for February 24, 2017, shall be vacated and shall be reset for March 24, 2017. Time is hereby excluded

18 under the Speedy Trial Act under 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code T4] and B(ii) [Local

19 Code T2], from the date of entry of this Order through the March 24, 2017 status hearing date. Time is

20 also excluded pursuant to 18 U.S.C. § 3161(h)(1)(A) through the date of the defendant’s mental

21 competency hearing.

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 1         The Court hereby RECOMMENDS that the defendant’s competency evaluation be conducted at

 2 the BOP Forensic Study Site at the Metropolitan Detention Center (MDC) in Los Angeles, California.

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 4         IT IS SO FOUND AND ORDERED.

 5         Dated: February 23, 2017

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      STIPULATION AND [PROPOSED] ORDER               5
